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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                 LAKE CHARLES DIVISION


 STATE OF LOUISIANA ET AL                               CASE NO. 2:21-CV-00778

 VERSUS                                                 JUDGE TERRY A. DOUGHTY

 JOSEPH R. BIDEN, JR. ET AL                             MAG. JUDGE KATHLEEN KAY


                                               ORDER

        For the reasons set forth in the Memorandum Ruling,

        IT IS ORDERED that the Plaintiff States’ Motion for Preliminary Injunction [Doc. No.

 3] is GRANTED.

        IT IS THEREFORE ORDERED that The United States Department of the Interior, Deb

 Haaland, Secretary of the Department of Interior, the United States Bureau of Land Management,

 Michael Nedd, Deputy Director of the Bureau of Land Management, Chad Padgett, Raymond

 Suazo, Kevin Mouritsen, Jamie Connell, Mitchell Leverette, John Ruhs, John Mehlhoff, Jon Raby,

 Steve Wells, Barry Bushue, Greg Sheehan, Kim Liebhauser, the United States Bureau of Ocean

 Energy Management, Amanda Lefton, Director of the Bureau of Ocean Energy Management,

 Michael Celata, the United States Bureau of Safety and Environmental Enforcement, Lars Herbst,

 Mark Fesmire, and all their respective officers, agents, servants, employees, attorneys and all other

 persons who are in active consent or participation with the above, are hereby ENJOINED and

 RESTRAINED from implementing the Pause of new oil and natural gas leases on public lands or

 in offshore waters as set forth in Section 208, Executive Order 14008, 86 Fed. Reg. 7619, 7624-

 25 (Jan. 27, 2021) and as set forth in all documents implementing the terms of said Executive

 Order by said defendants, as to all eligible lands.
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        IT IS FURTHER ORDERED that the said Agency Defendants shall be ENJOINED and

 RESTRAINED from implementing said Pause with respect to Lease Sale 257, Lease Sale 258

 and to all eligible onshore properties.

        IT IS FURTHER ORDERED that the scope of this injunction shall be nationwide.

        IT IS FURTHER ORDERED that this Preliminary Injunction shall remain in effect,

 pending the final resolution of this case, or until further orders from this Court, the United States

 Court of Appeals for the Fifth Circuit, or the United States Supreme Court.

        IT IS FURTHER ORDERED that no security bond shall be required under Federal

 Rule of Civil Procedure 65.

        MONROE, LOUISIANA, this 15th day of June, 2021.



                                                       __________________________________
                                                       TERRY A. DOUGHTY
                                                       UNITED STATES DISTRICT JUDGE
